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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION
In re:
                                                                     Case No. 6:24-bk-02642-GER
KARLYLE C. JONES,                                                                      Chapter 13

         Debtor.
                               /

                   NOTICE OF APPEARANCE AND REQUEST FOR NOTICE

         PLEASE TAKE NOTICE, that the undersigned counsel hereby enters their appearance

on behalf of, NATIONSTAR MORTGAGE, LLC, a secured creditor in connection with

property located at 15038 Guava Bay Drive, Winter Green, FL 34787 with loan number ending in

6482 in the above-captioned proceeding, and requests that all matters which must be noticed to

creditors, any creditors' committees, and any other parties-in-interest pursuant to Fed. R. Bankr. P.

2002, whether sent by the Court, the Debtors, or any other party in the case, be sent to the

undersigned; and pursuant to Fed. R. Bankr. P. 2002(g), requests that the following be added to

the Court's master mailing list:

                                  Justin D. Plean, Esq.
                      QUINTAIROS, PRIETO, WOOD & BOYER, P.A.
                            1475 Centrepark Blvd., Suite 130
                              West Palm Beach, FL 33401

Dated: June 3, 2024

                                              Respectfully submitted,

                                              /s/ Justin D. Plean
                                              Justin D. Plean, Esq.
                                              Florida Bar No. 113887
                                              Quintairos, Prieto, Wood & Boyer, P.A.
                                              1475 Centrepark Blvd., Suite 130
                                              West Palm Beach, FL 33401
                                              Phone: (561) 686-1880
                                              Primary Email: justin.plean@qpwblaw.com
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                                    CERTIFICATE OF SERVICE

       I certify that I have caused to be served a copy of the foregoing Notice of Appearance and

Request for Notice, by first class mail, postage prepaid or by CM/ECF electronic filing upon the

parties listed below on this day.


Dated: June 3, 2024
                                                    /s/ Justin D. Plean
                                                    Justin D. Plean, Esq.
                                                    Florida Bar No. 113887

Copies Furnished To:

Via CM/ECF:

Debtor’s Counsel
Matthew R Gross, Esq.
498 Palm Springs Drive, Suite 100
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Email: mrg@fresh-start.law

U.S. Trustee
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P.O. Box 3450
Winter Park, FL 32790
Email: ecfdailysummary@c13orl.com

Via U.S. Mail:

Debtor
Karlyle C. Jones
15038 Guava Bay Drive
Winter Garden, FL 34787
